                                   IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                           STATESVILLE DIVISION
                                   CIVIL ACTION NO. 5:21-CV-00124-KDB-DSC


               ASHLEY N. JONES,                               )
                                                              )
                                 Plaintiff,                   )
                                                              )
               v.                                             )                   ORDER
                                                              )
               MCCARTHY, BURGESS & WOLFF                      )
               INC.,                                          )
                                                              )
                                Defendant.                    )



                      THIS MATTER is before the Court on the “Motion for Admission Pro Hac Vice and

              Affidavit [for Lawrence Bartel]” (document #11) filed November 22, 2021. For the reasons set

              forth therein, the Motion will be granted.


                      The Clerk is directed to send copies of this Order to counsel for the parties and to the

              Honorable Kenneth D. Bell.


                      SO ORDERED.


Signed: November 22, 2021




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